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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :          CASE NO. 1:21-0500 (CJN)
                                                 :
 MICHAEL LEON BROCK                              :
                                                 :
           Defendant.                            :
                                                 :

                           UNITED STATES’ MOTION IN LIMINE
                         TO ADMIT CERTAIN TYPES OF EVIDENCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby moves this honorable court to admit certain types of evidence: (1) police

body worn camera footage, surveillance taken from the United States Capitol closed circuit

television (CCTV) system, and open-source video footage, and (2) statutes and congressional

records.

I.     This Court Should Admit Certain Categories of Multimedia Into Evidence

           The United States will provide its preliminary exhibit list to the defendant and to the

 Court on or before February 15, 2024. See ECF No. 53. On that date, the United States

 anticipates identifying, and providing to the defense, photographic and video exhibits that it

 intends to offer at trial. The following sections describe certain categories of evidence and

 explain why each is admissible as relevant and authentic.

       A.       Legal Framework

           “As a general rule, tangible evidence such as photographs must be properly identified

 or authenticated before being admitted into evidence at trial.” United States v. Blackwell, 694

 F.2d 1325, 1329 (D.C. Cir. 1982). To satisfy this requirement, “the proponent must produce

 evidence sufficient to support a finding that the item is what the proponent claims it is.” Fed. R.
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Evid. 901(a). Rule 901(b) provides a non-exhaustive list of examples of methods for showing

authenticity. Those include, as relevant here:


        (1) Testimony of a Witness with Knowledge. Testimony that an item is what it is claimed
        to be.
         ....
        (3) Comparison by an Expert Witness or the Trier of Fact. A comparison with an
        authenticated specimen by an expert witness or the trier of fact.
        (4) Distinctive Characteristics and the Like. The appearance, contents, substance,
        internal patterns, or other distinctive characteristics of the item, taken together with all
        the circumstances.
         ....
        (7) Evidence About Public Records. Evidence that: (A) a document was recorded or
        filed in a public office as authorized by law; or (B) a purported public record or
        statement is from the office where items of this kind are kept.
         ....
        (9) Evidence About a Process or System. Evidence describing a process or system and
        showing that it produces an accurate result. Fed. R. Evid. 901(b).

       In making the showing necessary for admissibility, “the proponent’s ‘burden of proof’”

is “slight,” and the “ultimate resolution of the evidence’s authenticity is reserved for the jury.”

United States v. Hassanshahi, 195 F. Supp. 3d 35, 48 (D.D.C. 2016) (quoting McQueeney v.

Wilmington Tr. Co., 779 F.2d 916, 928 (3d Cir. 1985)); see also United States v. Safavian, 435

F. Supp. 2d 36, 38 (D.D.C. 2006). To make the requisite prima facie showing,

“circumstantial evidence of authenticity can be sufficient.” United States v. Bruner, 657 F.2d

1278, 1284 (D.C. Cir. 1981). And such evidence need not “rule out all possibilities inconsistent

with authenticity, or to prove beyond any doubt that the evidence is what it purports to be,”

Hassanshahi, 195 F. Supp. 3d at 48 (quoting United States v. Pluta, 176 F.3d 43, 49 (2d Cir.

1999)). Rather, the party offering the evidence need only “demonstrate that, as a matter of

reasonable probability, possibilities of misidentification and adulteration have been eliminated.”

United States v. Celis, 608 F.3d 818, 842 (D.C. Cir. 2010) (quoting United States
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v. Stewart, 104 F.3d 1377, 1383 (D.C. Cir. 1997)).

      B.      Overlapping Bases for Admissibility of Multimedia

         As introduced herein, there are multiple, overlapping bases that the United States

intends to use for the authentication and introduction of photographs and videos at trial. The

United States offers this nonexclusive list of bases for authentication should the United States

be unable to enter into stipulations with the defendant in advance of trial.

                      1. Authentication by a Witness with Knowledge

         To begin, any witness with knowledge of the events depicted in a photograph or video

can authenticate the evidence, including but not limited to the person who took the photograph

or video. See Fed. R. Evid. 901(b)(1). Here, that includes any person who was present for the

events depicted in the photograph or video and has a recollection sufficient for them to recognize

the scene depicted. See, e.g., Am. Wrecking Corp. v. Sec’y of Lab., 351 F.3d 1254, 1262 (D.C.

Cir. 2003). Any individual that observed the events depicted in the photograph or video can

testify that the photograph or video appears to fairly and accurately show the events that took

place. See FRE 901(b)(1); see also United States v. Rembert, 863 F.2d 1023, 1026 (D.C. Cir.

1988).

         Even a person who was not present for a specific event can circumstantially establish

the authenticity of a photograph or video depicting that event if they can (1) identify the

location(s) depicted in the video; and (2) establish that the video is generally consistent with

their knowledge of events that occurred during the Capitol riot. See, e.g., Rembert, 863 F. 2d at

1028 (“Even if direct testimony as to foundation matters is absent . . . the contents of a

photograph itself, together with such other circumstantial or indirect evidence as bears upon the

issue, may serve to explain and authenticate a photograph sufficiently to justify its admission

into evidence.” (alteration in original) (quoting United States v. Stearns, 550 F.2d 1167, 1171
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(9th Cir. 1977) (Kennedy, J.))); United States v. Holmquist, 36 F.3d 154, 169 (1st Cir. 1994) (“A

photograph’s contents, buttressed by indirect or circumstantial evidence, can form a sufficient

basis for authentication even without the testimony of the photographer or some other person

who was present at the time it was taken.”). On this authority, the United States could

authenticate riot footage through, for example, the testimony of an experienced U.S. Capitol

Police officer who is familiar with all areas of the Capitol and who knows that the events of

January 6 are unique in modern history. Cf. Safavian, 435 F. Supp. 2d at 40–42 (authenticating

emails based on “distinctive characteristics” and citing Fed. R. Evid. 901(b)(4)); Klayman v.

Judicial Watch, 299 F. Supp. 3d 141, 145–46 (D.D.C. 2018) (admitting emails and

advertisements by comparing later versions with admitted versions). Again, this is a low bar

that requires only a prima facie showing that the evidence is what the United States purports it

to be— namely, photographs and videos of the Capitol siege in progress.

                     2. Authentication by Metadata

       Where necessary, the United States can also authenticate a photograph or video using

metadata. When a digital media file is extracted from a device or otherwise seized by the

government, it often contains metadata that specifies the time, and sometimes place, the file was

created, along with other information. At trial, the United States will sometimes call law

enforcement personnel to testify about the process of extracting data from digital devices and

reviewing the extracted materials. Such testimony is sufficient to make a prima facie showing

that a photograph or video was made at the time or place reflected in the metadata. See, e.g.,

United States v. Banks, 43 F.4th 912, 918 (8th Cir. 2022) (“While the officers were not present

when the images and videos were first captured, their testimony [about reviewing extraction

reports] provided a rational basis to believe that the exhibits had been created within the relevant

time frame and stored on [the defendant’s] cellular phones.”); Lorraine v. Markel Am. Ins. Co.,
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241 F.R.D. 534, 547–48 (D. Md. 2007) (“Because metadata shows the date, time and identity

of the creator of an electronic record, as well as all changes made to it, metadata is a distinctive

characteristic of all electronic evidence that can be used to authenticate it under Rule

901(b)(4).”); United States v. Gilbreath, No. 3:19-CR-127-TAV-HBG, 2020 WL 5441226, at *3

(E.D. Tenn. Sept. 10, 2020) (“Metadata […] showed that these images were created at

defendant’s home and on defendant’s cell phone on September 12, 2015.”).

                     3. Authentication by Comparison

       Similarly and alternatively, in instances where precision of time and place is relevant

but cannot be established by a witness with knowledge or by the media’s metadata, the United

States will authenticate exhibits by reference to other, already-authenticated exhibits depicting

the same time and place. This method of “[a]uthentication by comparison is routine.” Valve

Corp. v. Ironburg Inventions Ltd., 8 F.4th 1364, 1371 (Fed. Cir. 2021); see also United States v.

Hoyt, 946 F.2d 127, at *1 (D.C. Cir. 1991) (unpublished) (noting that Fed. R. Evid. 901(b)(3)

permits authentication by comparison); Stearns, 550 F.2d at 1171 (finding that first picture

“authenticates the other four pictures as to time”); Safavian, 435 F. Supp. 2d at 40 (allowing

authentication of emails by means of comparison with other “e-mails that already have been

independently authenticated”).

                     4. Authentication Based on a Process or System that Produces an
                         Accurate Result

     Certain multimedia, such as security cameras (CCTV) operated by the U.S. Capitol

Police (USCP) and body-worn cameras (BWC) worn by officers of the Metropolitan Police

Department (MPD) can be authenticated by “describing a process or system and showing that

it produces an accurate result,” Fed. R. Evid 901(b)(9). See United States v. Dale, 991 F.2d 819,

843 (D.C. Cir. 1993) (“Tapes may be authenticated by testimony describing the process or
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system that created the tape.”); United States v. Pinke, 614 F. App’x 651, 653 (4th Cir. 2015)

(unpublished) (finding “sufficient evidence of authentication” of a prison’s closed circuit video

where “a Government witness explained the manner in which the prison’s closed circuit video

system operates, the means by which he obtained the video, and that he downloaded it onto the

DVD that was played for the jury.”). USCP and MPD witnesses to be called by the United States

are available to testify to the systems employed by USCP and MPD, respectively. These

witnesses will be able to explain how the system is used, that it reliably records and depicts the

areas that the camera faces, and the internal characteristics of videos—such as date and time

stamps—which allow USCP and MPD to identify and retrieve segments of video.

                     5. Authentication Based on Status as an “Official Publication”

       Certain evidence, such as video taken by the Senate Recording Studio, is also “self-

authenticating,” meaning it “require[s] no extrinsic evidence of authenticity in order to be

admitted.” Fed. R. Evid. 902. 1 This is so because it qualifies as an “Official Publication[],”

defined as any “book, pamphlet, or other publication purporting to be issued by a public

authority.” Fed. R. Evid. 902(5). Official materials published on government websites fall into

this category and are self-authenticating under Rule 902. See Williams v. Long, 585 F. Supp.

2d 679, 685–90 (D. Md. 2008); cf. MMA Consultants 1, Inc. v. Republic of Peru, 245 F. Supp.

3d 486, 503–04 (S.D.N.Y. 2017) (Congressional transcripts); Singletary v. Howard Univ., No.

1:17-cv-01198, 2018 WL 4623569, at *4 n.1 (D.D.C., Sept. 26, 2018) (government-issued

guidebook), rev’d on other grounds, 939 F.3d 287.




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  Further underscoring the multiple paths to authentication, the Senate Recording Studio
footage may also be authenticated through any of the mechanisms outlined in this motion,
including Fed. R. Evid. 901(b)(1), (3), (4), (9).
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         The United States Senate uses the Senate Recording Studio to contemporaneously

record     Senate   proceedings   and   distribute   those   recordings   to   the   public.   See

https://www.senate.gov/– floor/, last accessed Dec. 15, 2022 (publicly available archived

recordings of Senate Recording Studio). The Senate Recording Studio recorded the proceeding

relating to the Electoral College Certification on January 6, 2021, up to the point when the

rioters breached the building and forced the proceedings into recess. See id., January 6, 2021.

Subsequently, the Senate Recording Studio recorded the Electoral College Certification

proceedings after the rioters were cleared from the Capitol Building and the session resumed.

Id. During the interim, the Senate Recording Studio captured footage of rioters who were

present on the Senate floor during the recess.

      C.       Categories of Multimedia To Be Offered

         The United States may introduce videos and photos recovered from phones and social

media accounts, as well as videos and photographs taken by third parties such as other rioters

and journalists who were present inside and outside the Capitol on January 6. Among other

ways, these materials can be authenticated through the processes described above.

         The evidence at trial will also include video captured by law enforcement, including

CCTV and BWC footage. Like any other videos, these can be authenticated by any person with

direct knowledge of the scene depicted or with sufficient circumstantial knowledge, see Fed. R.

Evid. 901(b)(1), or through metadata or comparison, see Fed. R. Evid. 901(b)(4). Alternatively,

given the automated nature of the recording devices in question, the BWC and CCTV footage

can be authenticated under Rule 901(b)(9), which allows authentication by “[e]vidence

describing a process or system and showing that it produces an accurate result.” Fed. R. Evid.

901(b)(9); see Dale, 991 F.2d at 843; Pinke, 614 F. App’x at 653.
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II.    Motion in Limine To Admit Certain Statutes and Records

       A.      Judicial Notice of the Federal Electoral College Certification Law

             The proceedings that took place on January 6, 2021, were mandated by, and directed

 under the authority of, several constitutional and federal statutory provisions. In fact, as Vice

 President Pence gaveled the Senate to Order on January 6, 2021 to proceed with the Electoral

 College Certification Official Proceeding, he quoted directly from, and cited to, Title 3, United

 States Code, Section 17.

         The United States requests that the Court take judicial notice of, and admit into evidence,

 copies of Article II, Section 1 of the Constitution of the United States, the Twelfth Amendment,

 as well as 3 U.S.C. §§ 15–18 relating to the Electoral College Certification Official Proceedings.

 It is well established that district courts may take judicial notice of law “without plea or proof.”

 See United States v. Davila-Nieves, 670 F.3d 1, 7 (1st Cir. 2012) (quoting Getty Petroleum Mktg.,

 Inc. v. Capital Terminal Co., 391 F.3d 312, 320 (1st Cir. 2004)). The United States makes this

 request even though “no motion is required in order for the court to take judicial notice.” Moore

 v. Reno, No. 00-5180, 2000 WL 1838862, at *1 (D.D.C. Nov. 14, 2000). Further, “where a

 federal prosecution hinges on an interpretation or application of state law, it is the district court’s

 function to explain the relevant state law to the jury.” See United States v. Fazal-

 Ur-Raheman-Fazal, 355 F.3d 40, 49 (1st Cir. 2004).

       B.      Admission of the Congressional Record and S. Con. Res 1

       The Congressional proceedings on January 6, 2021, were memorialized in the

Congressional Record. The Congressional Record is a public record under Federal Rule of

Evidence 902(5). See MMA Consultants, 245 F. Supp. 3d at 503–04. The United States may

introduce portions of the Congressional Record at trial, including the bodies’ “concurrent
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resolution to provide for the counting on January 6, 2021, of the electoral votes for President and

Vice President of the United States,” S. Con. Res. 1, 117th Cong. (2021). For the same reasons

as the Senate Recording Studios footage above, these records should be admitted as self-

authenticating.

                                            CONCLUSION

       For the foregoing reasons, the Court should grant the United States’ motion to admit

the above materials.

                                                            Respectfully submitted,

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